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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                          ROME DIVISION

 EARL PARRIS, JR., etc.,



                 Plaintiff,
                                            Civil Action No.:
 v.                                         4:21-cv-00040-TWT

 3M COMPANY, et al.,

               Defendants.



 REPLY IN SUPPORT OF MOTION TO CERTIFY QUESTIONS TO THE
GEORGIA SUPREME COURT OR FOR INTERLOCUTORY APPEAL BY
               DAIKIN AMERICA, INC. (“DAI”)


      DAI moved to certify two unsettled and dispositive questions of state law to

the Georgia Supreme Court or, in the alternative, to the Eleventh Circuit. It is in

everyone’s best interests—the parties, the Court, and the public—for this Court to

grant the motion and allow the Georgia Supreme Court to decide these key questions,

questions on which Plaintiff and Intervenor base their case and questions that are

arising more and more, here and around the country. The Georgia Supreme Court

will have to decide these issues eventually; it would be far better to have the answers

now, before this case and others proceed further.


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      As it currently stands, this litigation will diverge from Johnson, as that court

came to the opposite conclusion on negligence on these same facts, dismissing that

claim against DAI. And this litigation will diverge from a significant number of

cases around the country on the issue of public nuisance, as a “clear national trend”

has limited products-based public-nuisance actions against manufacturers for

alleged nuisances created only after the manufacturers’ product reaches a third party.

State ex rel. Hunter v. Johnson & Johnson, 499 P.3d 719, 730 (Okla. 2021)

(collecting cases). To deny that these are important and unsettled issues, in this

district and around the country, is to deny reality. On both these questions, this Court

should not leave this large litigation to an “Erie guess” that diverges from other

courts’ predictions of state law; it should permit the Georgia Supreme Court, or in

the alternative the Eleventh Circuit, to make an authoritative decision.

      Plaintiff and Intervenor resist certification, but their reasoning does not

withstand scrutiny. Though they attempt to dispute the unsettled nature of these

questions, the cases speak for themselves: This Court split from Judge Totenberg

while being presented with the same allegations and the same authorities, and courts

from around the country have described the nuisance issue as unsettled too.

Alternatively, the Responses argue that these unsettled questions are not

“determinative,” but the Responses overstate what is required for certification. As



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this Court’s own case law confirms, certification is appropriate and warranted when

it could resolve one claim or the claims as to one party. And that standard is more

than satisfied here: If the Georgia Supreme Court agrees with DAI, the whole case

against DAI would be legally insufficient and thus would have to be dismissed.

      This Court should grant certification of both questions.

                                    ARGUMENT
I.    THE COURT CAN AND SHOULD CERTIFY THE UNSETTLED
      STATE-LAW ISSUES TO THE GEORGIA SUPREME COURT.
      Georgia law allows a district court to certify questions to the Georgia Supreme

Court when “there are involved in [the] proceeding before [the court] questions of

the laws of this state which are determinative of the case and there are no clear

controlling precedents in the decisions of the Supreme Court of this state.” O.C.G.A.

§ 15-2-9. DAI’s opening brief explained why that standard is satisfied here as to

both the negligence and nuisance questions: The questions are unsettled and, if

answered in DAI’s favor, would end the litigation against DAI. Mot. 5–13. Plaintiff

and Intervenor take issue with both parts of the standard but are wrong as to each.

       A.     Both the negligence and nuisance questions are unsettled and
              should be certified.
             1.     The negligence question is unsettled and should be certified.
      One indisputable fact above all others shows that the negligence question is

unsettled: This Court has split with another court in this district on the same question



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involving the same defendant. This Court predicted that the Georgia Supreme Court

would find a negligence duty in this case because DAI continuously supplied PFAS

to Mount Vernon. Doc. 136 (“Op.”) 57–58. Judge Totenberg made the opposite

prediction on the same allegations. Id. at 59 n.10. No “authority from Georgia,” she

concluded, “establish[es] a duty on the part of a chemical supplier to protect an

unknown third-party [Plaintiff], rather than its consumer [Mount Vernon], from

harm resulting from the negligent use or disposal of the chemical.” Johnson v. 3M,

563 F. Supp. 3d 1253, 1325 (N.D. Ga. 2021).

      These directly divergent conclusions by courts in the same district on the

identical issue cry out for certification to the Georgia Supreme Court. The distinct

holdings by each court create significant doubt as to the meaning of Georgia law,

and specifically whether under Georgia law a manufacturer owes a common-law

duty to unknown third parties to protect them from another entity’s negligent

disposal of the manufacturer’s product. Where, as here, “there is any doubt as to the

application of state law, a federal court should certify the question to the state

supreme court to avoid making unnecessary Erie ‘guesses’ and to offer the state

court the opportunity to interpret or change existing law.” Mosher v. Speedstar Div.

of AMCA Int’l, Inc., 52 F.3d 913, 916–17 (11th Cir. 1995) (emphasis added) (cleaned

up). And even if (as the Responses argue) the standard were higher—such as serious



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doubt about the application—the standard would be met given the direct intra-

district split. See Gulfstream Park Racing Ass’n v. Tampa Bay Downs, Inc., 399

F.3d 1276, 1279 (11th Cir. 2005); Simmons v. Sonyika, 394 F.3d 1335, 1339 (11th

Cir. 2004).

      The Responses try to minimize this intra-district split by insisting that its

status is uncertain. See Plaintiff’s Response at 10–11. But there is nothing uncertain

about it.     This Court and the Johnson court came to diametrically opposed

conclusions on the negligence question—one court dismissing the count and another

upholding it—while being presented with identical arguments and authorities.

Johnson determined that there was no recognized common-law principle

establishing a negligence duty on these facts, even after being made aware of

Restatement § 389—the same authority this Court used as the source of that duty.

See Johnson, 563 F. Supp. 3d at 1325; see also Plaintiff’s Response in Opposition

to the Supplier Defendants’ Motion to Dismiss the Third Amended Complaint at 11–

13, Johnson v. 3M, No. 4:20-cv-00008 (N.D. Ga. Mar. 10, 2021), ECF No. 513.

      The Responses also fail to grapple with what this intra-district-court split

means for certification: It shows that the question must be a close one for which

“sufficient sources of state law” do not “allow a principled rather than conjectural

conclusion,” making certification proper. State of Fla. ex rel. Shevin v. Exxon Corp.,



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526 F.2d 266, 275 (5th Cir. 1976) (Eleventh Circuit precedent). When two highly

respected judges in the same district come to differing conclusions, that issue must

be proper for certification. This is why courts have held this is the most important

question for certification. Blackburn v. Shire US Inc, 18 F.4th 1310, 1322 (11th Cir.

2021); see, e.g., Bibbs v. Toyota Motor Corp., 2017 WL 11629193, at *2 (N.D. Ga.

Aug. 9, 2017).

      And it is not just the split; it is also that this Court itself recognized that “no

Georgia court has ever applied section 389 in an environmental pollution case.” Op.

56. This dearth of state law strongly favors certification, and it makes this unlike

the cases the Responses cite. See, e.g., Boone v. Corestaff Support Servs., Inc., 805

F. Supp. 2d 1362, 1377–78 (N.D. Ga. 2011) (declining to certify questions to the

Georgia Supreme Court only where the “Georgia Court of Appeals ha[d] definitively

settled the issue” and a court in the same circuit had recently reached the same

conclusion on the issue).

      Certification is also proper, in addition to the intra-district split and the dearth

of case law, for other reasons too—reasons the Responses largely ignore.

      First, principles of comity dictate that the Georgia Supreme Court should be

permitted to decide the negligence issue. It is the province of the state supreme

court, rather than federal courts, to “create or expand” state law. Fid. Ins. Co. v.



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Foster, 808 F. Supp. 2d 1315, 1321 (S.D. Fla. 2011); see Cargill, Inc. v. Offshore

Logistics, Inc., 615 F.2d 212, 215 (5th Cir. 1980) (Eleventh Circuit precedent);

Parker v. Brush Wellman, Inc., 377 F. Supp. 2d 1290, 1298–99 (N.D. Ga. 2005). At

least, federal courts should not create or expand state law without giving the Georgia

Supreme Court the chance to review the issue. See Mosher, 52 F.3d at 916–17;

FDIC v. Loudermilk, 984 F. Supp. 2d 1354, 1359–60 (N.D. Ga. 2013) (Thrash, J.).

This is especially so given that, as described below, this question is likely to recur

in litigation in this state, and it has important public policy implications.

      Second, the importance of the negligence question, as well as the likelihood

of its recurrence, also weigh in favor of certification. Legal opinions that change the

scope of liability under Georgia negligence law may have a large impact on Georgia

citizens and businesses operating under Georgia law. For that reason, significant

questions of the extent of liability of manufacturers under Georgia law, such as those

raised by the negligence issue, should be decided by the Georgia Supreme Court.

See Polston v. Boomershine Pontiac-GMC Truck, Inc., 952 F.2d 1304, 1306 (11th

Cir. 1992) (per curiam) (ordering certification where an issue raised “substantial

public policy concerns”). The negligence issue is also very likely to be raised again,

as it is already being claimed in other ongoing PFAS cases, including Johnson. See

also, e.g., City of Rome v. 3M Co. et al., No. 19-cv-02405 (Ga. Superior Ct.). That



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this issue is likely to recur supports certification of this question. See Exxon Corp.,

526 F.2d at 275 n.29.

      In the end, there can be no denying that “there are no clear controlling

precedents in the decisions of the Supreme Court of this state” on the negligence

question presented here. O.C.G.A. § 15-2-9.

             2.     The nuisance question is unsettled and should be certified.
      So too for the nuisance question—whether a manufacturer can be liable for a

nuisance created by its customers’ use and disposal of the manufacturer’s products

is unsettled. Courts around the country have come to the opposite conclusion to this

Court’s and the Johnson court’s on this question, and the Georgia Supreme Court

has thus far been silent. Because the nuisance issue is close and unsettled under

Georgia law, it should be certified to the Georgia Supreme Court. See Loudermilk,

984 F. Supp. 2d at 1359–60; Blackburn, 18 F.4th at 1322.

      The Responses deny the “clear national trend” in this area, but this Court does

not have to take the parties’ word for it: Courts around the country have expressly

recognized this trend and the unsettled nature of these issues. E.g., Johnson &

Johnson, 499 P.3d at 730 (collecting cases). The outcomes of the cases in this trend

do not depend on how the courts framed the facts involved or on whether the

defendant had knowledge of the alleged nuisance (contra Plaintiff’s Response at 14,



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17–18); they turn on the purely legal question presented by DAI’s certification

motion: Does a manufacturer’s “kn[owledge] of the dangers” and “choice to carry

out its daily business activities constitute[] control over a product after it has been

sold”? In re Paraquat Prod. Liab. Litig., 2022 WL 451898, at *11 (S.D. Ill. Feb.

14, 2022) (splitting with this Court, holding “no,” and dismissing nuisance claim on

the pleadings); see also, e.g., SUEZ Water New York Inc. v. E.I. du Pont de Nemours

& Co., __ F. Supp. 3d. __, 2022 WL 36489 (S.D.N.Y. Jan. 4, 2022) (same for PFAS).

And critically, the only question this Court is being asked to decide now is whether

“there are [any] clear controlling precedents in the decisions of the Supreme Court

of [Georgia]” on this question. O.C.G.A. § 15-2-9. The answer is that there are not,

making this question worthy of certification.

       B.     Both the negligence and nuisance questions are determinative of
              the case.
      All that is left to make certification proper is that these questions are

“determinative of the case.” O.C.G.A. § 15-2-9. They are.

      The proposed questions here are determinative of the case, as that term is used

by O.C.G.A. § 15-2-9, because they would resolve the case against DAI. The cases

the Responses cite support this proposition: If the proposed questions are resolved

by the Georgia Supreme Court in DAI’s favor, Plaintiff and Intervenor could not

“ultimately go on to prevail on the merits” of their negligence and nuisance claims,



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thus making the questions determinative. See Thai Meditation Ass’n of Alabama,

Inc. v. City of Mobile, Alabama, 980 F.3d 821, 838 (11th Cir. 2020). The proposed

questions indeed are determinative of the case against DAI: If DAI owes no

negligence-duty to Plaintiff and cannot be liable for nuisance, the case cannot

proceed against DAI.

      Plaintiff and Intervenor suggest that to be “determinative,” a certified question

must be capable of resolving the entire case against all defendants. See Intervenor-

Plaintiff’s Response at 13, Plaintiff’s Response at 14.           But this Court’s own

certification precedent shows that is not so. For example, in Loudermilk, 984 F.

Supp. 2d 1354, this Court certified the question whether the business judgment rule

applied to plaintiff’s negligence claim, despite simultaneously denying motions to

dismiss different claims. This meant that regardless of the Georgia Supreme Court’s

ruling on the certified question, the case would continue to be litigated on plaintiff’s

other claims. Thus, even if a decision on the certified questions would not dispose

of all claims against DAI, certification would still be proper.

      Other precedent, too, establishes that the term “determinative of the case”

does not stretch nearly as far as Plaintiff and Intervenor claim. Certification to state

courts is permissible when it would “save time, energy, and resources and help[]

build a cooperative judicial federalism,” Lehman Bros. v. Schein, 416 U.S. 386, 391



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(1974); the certification procedure would be meaningless, particularly in multi-

defendant litigation like this, if every question certified to state court needed to be

capable of resolving all claims even as to one party in one fell swoop.

      The Responses’ cases say nothing to the contrary. They tout Echols v.

Georgia Piedmont Tech. Coll., 2021 WL 870717, at *2 (N.D. Ga. Mar. 9, 2021)

(Thrash, J.), for the proposition that the proposed questions for certification are “not

outcome determinative of the case.” But resolution of the question in Echols would

determine only the relief that Plaintiff was entitled to, not whether that claim was

permissible in the first place. Id. In contrast, here, resolution of the proposed

questions may cause several of Plaintiff’s claims to be dismissed—and could cause

the entire case against DAI to be dismissed.

      The Responses finally argue that the negligent-failure-to-warn claims against

DAI would survive regardless of what the Georgia Supreme Court does with the

certified questions. But that is both irrelevant and wrong. It is irrelevant because,

as discussed above, certification is proper if the questions are determinative of even

some claims, when (as here) the questions are unsettled and resolution would save

resources. See, e.g., Loudermilk, 984 F. Supp. 2d 1354. And it is wrong because

the negligent-failure-to-warn claim would fail if the Georgia Supreme Court rules

for DAI on the certified negligence question. That claim is based on the same



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supposed duty as the general negligence claim—to protect unknown third parties

from harm caused by the actions of another entity, Mount Vernon Mills. See

Complaint ¶ 156. If the “duty” question is certified to the Georgia Supreme Court,

and that court concludes, as did Johnson, that there is no “duty on the part of a

chemical supplier to protect an unknown third-party, rather than its consumer, from

harm resulting from the negligent use or disposal of [a] chemical,” 563 F. Supp. 3d

at 1325, that conclusion would simultaneously defeat the failure-to-warn claim.

      At bottom, resolving the negligence and nuisance questions at this juncture

will substantially reduce, or eliminate, the amount of litigation that DAI is subject

to and conserve party and judicial resources. Plaintiff’s claims against DAI, if

litigated further, will involve substantial discovery on a variety of issues, a fact

underscored by Plaintiffs’ request for a full year of fact discovery to be followed by

extensive expert discovery. Before Plaintiff and DAI endure this burdensome

discovery—and before the Court has to invest substantial resources managing

discovery and summary judgment on those issues—the Georgia Supreme Court

should be permitted to resolve the predicate issues. Depending on the Georgia

Supreme Court’s resolution of these questions, DAI could be out of this case.




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II.   ALTERNATIVELY, THE COURT SHOULD CERTIFY ITS ORDER
      FOR APPEAL UNDER § 1292(B).
      If this Court does not certify these questions of law to the Georgia Supreme

Court, it should certify its order for interlocutory appeal. All three requirements are

met here. First, the negligence and nuisance questions are discrete legal questions,

and if the questions are decided in DAI’s favor, then at least a “substantial part of

the [complaint]” will be dismissed against DAI. McFarlin v. Conseco Servs., 381

F.3d 1251, 1264 (11th Cir. 2004). Second, given the intra-district conflict between

this Court and Johnson on the negligence-duty DAI owes, as well as the conflict

between this Court’s decision and the “clear national trend” on the nuisance issue,

see Johnson & Johnson, 499 P.3d at 730, there is substantial ground for difference

of opinion on both proposed questions. And third, an immediate appeal will, at

minimum, substantially reduce the volume of litigation. Benson v. Enter. Leasing

Co. of Orlando, LLC, 2021 WL 1078410, at *8 (M.D. Fla. Feb. 4, 2021).

      Plaintiff’s Response (at 21) argues that there is no substantial ground for

difference of opinion on the negligence question, but they are mistaken, for reasons

discussed above: There is now a clear split in this district on whether a negligence

duty exists under these circumstances. Plaintiff also claims that the different

holdings of this Court and the Johnson court on the negligence duty do not constitute

a “substantial” difference of opinion, citing Anderson v. S. Home Care Servs., Inc.,



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2017 WL 10573993, at *2 (N.D. Ga. Jan. 3, 2017). But Anderson is not on point.

There, intervening and controlling Eleventh Circuit precedent that came out after the

district court split guided the court’s decision. Anderson, 2017 WL 10573993, at

*2. There is no controlling case here.

      Plaintiff’s Response also attempts to paper over the substantial grounds for

difference of opinion that exist on the nuisance question. Once again, Plaintiff

requests this Court summarily dismiss the considerable conflicting authority cited

by DAI by claiming that none of those cases alleged that defendant controlled the

nuisance-generating activity. But as explained, the whole point of this certification

motion is to have an authoritative decisionmaker determine the level of control

needed. DAI has pointed to several jurisdictions that have held, in the context of

nuisance claims, that manufacturers necessarily lose control over their products once

they are sold. The point now is not to re-litigate this as the Responses want to do; it

is to let an authoritative decisionmaker decide who is right.

      Plaintiff’s Response also argues that an interlocutory appeal will not

materially advance this litigation, because resolution of those questions will not

“avoid a trial of this matter.” Plaintiff’s Response at 23. But once again Plaintiff

overstates this issue: Resolution of the proposed questions, which are dispositive as

to the negligence and nuisance claims, will materially advance the ultimate



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termination of the litigation because, if those claims are not litigated further, “the

volume of litigation could be substantially reduced.” Benson, 2021 WL 1078410, at

*8; see also pages 9–12, supra. That is enough.

       For its part, Intervenor similarly misstates the legal standard applicable to

§ 1292(b) by claiming that the statute requires that questions certified for

interlocutory appeal be “dispositive of the litigation” and that there must be “serious

doubt as to how [those questions] should be decided.” Intervenor’s Response at 15

(alteration in original) (citation omitted).            But the language Intervenor quotes

originates from a judicial committee report submitted to Congress; that language is

not reflected in the statute or the case law and has no precedential value whatsoever.

McFarlin, 381 F.3d at 1256. And regardless, as explained, these questions would be

dispositive of the litigation against DAI, and there is serious doubt, including intra-

district splits and splits around the country, about who is right.

                                         CONCLUSION

       For these reasons, this Court should certify the questions of law either to the

Georgia Supreme Court or to the Eleventh Circuit.1


       1
          Without supporting authority, Plaintiff requests (at 18) that the Court refuse to stay the
proceedings if it certifies DAI’s proposed questions. The Court need not decide the propriety of a
stay at this juncture, for certification is proper even if the Court does not stay the proceedings. But
if the Court is deciding now whether to stay proceedings, DAI believes that, whether or not the
case proceeds against other parties, a stay as to DAI would be proper.



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Dated: June 1, 2022                          Respectfully submitted,

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                           CERTIFICATE OF COMPLIANCE

         I hereby certify that the foregoing document has been prepared in accordance

with the font type and margin requirements of Local Rule 5.1C of the Northern

District of Georgia, using 14-point Times New Roman font, as approved by the

Court.

                                        /s/ Richard H. Deane, Jr.
                                        Richard H. Deane, Jr.




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                           CERTIFICATE OF SERVICE
    I certify that on June 1, 2022, I served the foregoing on all parties by filing on

CM/ECF.



                                           /s/ Richard H. Deane, Jr.
                                           Richard H. Deane, Jr.

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